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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

__________________________________________
                                          )
ANDREW GODDARD,                           )
               PLAINTIFF                  )
                                          )
                       v.                 )
                                          )                  Civil Action No.
WILLIAM J. KELLEY, DANIEL HUMPHREYS, )
THOMAS MANNING, in their individual       )
capacities; and the CITY OF BOSTON,       )
               DEFENDANTS                 )
__________________________________________)


                                          COMPLAINT

INTRODUCTION

       1.     This is an action for compensation as a result of injuries to Andrew Goddard when he

was unlawfully arrested and subjected to unreasonable force during game five of the American

League Championship Series (“ALCS”) in 2004 between the Red Sox and Yankees. On October 19,

2004, Andrew Goddard (“Andrew”) and his brother Matthew Goddard (“Matthew”) were at Fenway

Park to watch the game. Boston police officers William Kelley (“Officer Kelley”) and Daniel

Humphreys (“Officer Humphreys”) ejected Andrew and Matthew after they, along with many other

Red Sox fans in the park, voiced frustration at an incorrect call by an umpire on a crucial two-out

play in the 12th inning. On their way out, Officer Humphreys shoved Andrew repeatedly, despite the

fact that Andrew told him he had a knee injury. While they were near an exit, Matthew tried to learn

officer Kelley’s badge number. Officer Kelley shouted at Matthew. Andrew took a few steps towards

the exit, at which point Officer Kelley punched Andrew in the throat. Andrew stumbled backwards

and fell to the ground. Sergeant Thomas Manning (“Sgt. Manning”) yelled profanities at Andrew as
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he lay on the ground, and then he ordered Andrew’s arrest. Officers Kelley and Humphreys dropped

their full weight onto Andrew’s knees and back to cuff him. Andrew was found not guilty of all

charges after a jury trial. The defendants violated Andrew’s constitutional rights and committed torts

under Massachusetts law.

JURISDICTION

          2.       This action is brought pursuant to 42 U.S.C. §§1983 and 1988, and the Fourth

Amendment to the United States Constitution. Title 28 U.S.C. §§1331 and 1343 provide federal

question jurisdiction, and 28 U.S.C. § 1367 provides supplemental jurisdiction over the state law

claims.

PARTIES

          3.       Plaintiff Andrew Goddard was at all times material to this complaint a resident of the

Commonwealth of Massachusetts. Andrew was twenty-four years old on October 19, 2004.

          4.       Defendant William J. Kelley was at all times material to this complaint a duly

appointed police officer in the Anti-Crime Unit of the Boston Police. His actions alleged in this

complaint were taken under color of the laws of the Commonwealth of Massachusetts and the City

of Boston. He is sued in his individual capacity.

          5.       Defendant Daniel Humphreys was at all times material to this complaint a duly

appointed police officer of the Boston Police. His actions alleged in this complaint were taken under

color of the laws of the Commonwealth of Massachusetts and the City of Boston. He is sued in his

individual capacity.

          6.       Defendant Thomas Manning was at all times material to this complaint a duly

appointed police officer and shift supervisor of the Boston Police. His actions alleged in this


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complaint were taken under color of the laws of the Commonwealth of Massachusetts and the City

of Boston. He is sued in his individual capacity.

       7.       Defendant City of Boston is a municipal corporation located in Suffolk County,

Commonwealth of Massachusetts, and was at all times relevant to this complaint, the public

employer of defendants Kelley, Humphreys, and Manning.

FACTS

       8.       On October 19, 2004, Andrew Goddard and his brother Matthew Goddard were

attending game five of the ALCS at Fenway Park.

       9.       The game was sold out. The crowd was excited because the home team Boston Red

Sox faced elimination from the playoffs by the New York Yankees. The Yankees led the seven game

series three games to one.

       10.      The game was closely contested and it stretched into extra innings. With two outs in

the bottom of the 12th inning, David Ortiz of the Red Sox drew a walk. After reaching first, Ortiz

tried to steal second base, but was called out on a close play.

       11.      Andrew could see that Ortiz was safe. He and his brother immediately jumped out

of their seats, along with thousands of other members of the crowd, to protest the call. While

standing, Andrew swore at the umpire and extended his middle finger towards him. After expressing

his frustration, Andrew sat back down to watch the game.

       12.      An instant replay confirmed that the umpire on the field indeed had made an error;

Ortiz’s hand had reached the base before Yankee shortstop Derek Jeter applied a tag.

       13.      Shortly after the umpire’s mistake, officers Kelley and Humphreys approached

Andrew and Matthew.


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        14.     Officer Humphreys and Officer Kelley addressed Andrew, but due to crowd noise,

he could not hear them. From his prior experiences at sporting events, Andrew assumed the officers

were issuing a warning about swearing, so he apologized and resumed watching the game.

        15.     One of the officers told Andrew, “you’re leaving or you’re going to be arrested.”

        16.     Andrew and Matthew left their seats voluntarily. As they made their way

to the aisle, Officer Kelley grabbed Andrew by the shirt and shoved him forward.

        17.     Andrew and Matthew began to ascend the stairs towards the concourse, escorted by

officers Kelley and Humphreys.

        18.     In February and May of 2004, Andrew underwent reconstructive surgery on

his right knee to repair a torn anterior cruciate ligament (ACL) and bone fracture.

        19.     Andrew moved slowly due to his knee injury. He informed Officer Humphreys of his

condition several times. Despite this, Officer Humphreys shoved Andrew from behind, multiple

times, in an attempt to accelerate his pace as they climbed the steps.

        20.     After reaching the entrance to the concourse, an unidentified officer and Officer

Humphreys grabbed Andrew by either arm and dragged him towards a garage door exit to Van Ness

Street. Again, Andrew told the officers that he was already “walking as fast as” he could.

        21.     At the door, Officer Humphreys and the unidentified officer released their grip on

Andrew and he walked out of the stadium onto Van Ness Street.

        22.     Before Andrew and Matthew could leave, one of the officers informed them that the

Red Sox official needed to see their I.D. Andrew produced his driver’s license and gave it to the

official.

        23.     While Andrew waited for his information to be written down, Officer Kelley


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suddenly yelled at Matthew, “What are you looking at?”

        24.    Matthew responded, “I’m looking at your badge.”

        25.    Officer Kelley then screamed at Matthew, “What are you going to do about it? What

are you going to do? My badge number is 1330.”

        26.    Next, Officer Kelley poked Matthew in the chest, swore, and asked him, “What

do you got? You want to hit me? Come on, hit me.”

        27.    As Officer Kelley shouted at Matthew, Andrew attempted to walk out of the park.

        28.    After he took only two steps, Officer Kelley punched Andrew in the throat with a

closed fist.

        29.    Andrew suddenly could not breathe. He stumbled backwards into a parked

ambulance, and then he fell to the ground.

        30.    Officer Kelley yelled at Andrew, “Where do you think you’re going?” as Andrew

slumped downwards.

        31.    At this point, Sgt. Manning responded to the scene after hearing “yelling and

screaming.”

        32.    When Sgt. Manning arrived, Andrew was on the ground asking to speak to a

supervisor and telling those around him that he was injured.

        33.     Manning spoke briefly with Kelley “to [be] apprise[d]” of the situation, and then

approached Andrew, “in [his] capacity as a police supervisor,” to speak with him.

        34.    On information and belief, Sgt. Manning yelled obscenities at Andrew while he lay

on the ground and told him, “Get up. What do you think you’re doing? You don’t get up we’re going

to arrest you for trespassing.”


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        35.      Immediately after addressing Andrew, Sgt. Manning directed one of the officers to

handcuff Andrew and place him under arrest.

        36.      A few seconds after Sgt. Manning’s order, officers Kelley and Humphreys jumped

on top of Andrew’s knees and back, and forcefully applied handcuffs, even though Andrew was not

resisting.

        37.      After Andrew was cuffed, Officer Kelley approached Matthew, pushed him

against the wall face first, handcuffed him, and then threw him to the ground.

        38.        A few minutes after Andrew and Matthew’s arrest, Sgt. Manning called for a

transport van.

        39.      Andrew and Matthew were placed inside the van, driven to the station, and booked.

        40.      Andrew and Matthew were charged with trespassing, assault and battery on a police

officer, resisting arrest, disorderly conduct, and disturbing a public assembly.

        41.      Andrew and Matthew were acquitted of all charges after a jury trial on February, 22,

2006.

        42.      As a direct and proximate cause of the defendants’ actions, Andrew suffered the

following damages:

                 (a)    Andrew endured physical pain and suffering as a result of the assault from

                        Officer Kelley and the forceful handcuffing from officers Kelley and

                        Humphreys. There was significant bruising and it was difficult for him to eat

                        or swallow for approximately two and a half weeks after the incident. The

                        pre-existing knee injury was further aggravated.




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                (b)      Andrew endured emotional pain and suffering. He was embarrassed publicly

                         and in front of his brother, Matthew. Additionally, he withstood great anxiety

                         and stress in the defense of baseless criminal charges.

                (c)      Andrew had to expend time and funds to defend himself from these frivolous

                         accusations.

COUNT I         42 U.S.C. § 1983 4th Amendment Claim Against Officer Kelley and
                Officer Humphreys for the Unreasonable Use of Force

        43.     The above paragraphs are incorporated by reference.

        44.     Officers Kelley and Humphreys used unreasonable force against Andrew.

        45.     By the actions described above, officers Kelley and Humphreys deprived the plaintiff

of the clearly established and well-settled right to be free from the unreasonable use of force.

        46.     The defendants’ actions were taken with reckless disregard for plaintiff’s

constitutional rights.

        47.     As a direct and proximate result of this conduct, the plaintiff suffered the injuries as

described above.

COUNT II        42 U.S.C. § 1983 4th Amendment Claim Against Officer Kelley, Officer
                Humphreys and Sgt. Manning for Unlawful Arrest

        48.     The above paragraphs are incorporated by reference.

        49.     Officer Kelley, Officer Humphreys, and Sgt. Manning did not have probable cause

to arrest Andrew.

        50.     By the actions described above, the defendants deprived the plaintiff of the

clearly established and well-settled right to be free from unreasonable seizures.

        51.     The defendants’ actions were taken with reckless disregard for plaintiff’s


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constitutional rights.

        52.     As a direct and proximate result of this conduct, the plaintiff suffered the injuries as

described above.

COUNT III Massachusetts Civil Rights Act, M.G.L. C.12, §11I, Against Officer Kelley,
          Officer Humphreys and Sgt. Manning

        53.     The above paragraphs are incorporated by reference.

        54.     Officer Kelley, Officer Humphreys, and Sgt. Manning violated the plaintiff’s rights

by threats, intimidation and coercion.

        55.     As a direct and proximate result of this conduct, the plaintiff suffered the injuries as

described above.

COUNT IV Tort of Assault & Battery Against Officers Kelley and Humphreys

        56.     The above paragraphs are incorporated by reference.

        57.     Officers Kelley and Humphreys committed the common law tort of

assault and battery against the plaintiff.

        58.     As a direct and proximate result of this conduct, the plaintiff suffered the injuries as

described above.

COUNT V         False Imprisonment Against Sgt. Manning, Officer Kelley and Officer
                Humphreys.

        59.     The above paragraphs are incorporated by reference.

        60.     Sgt. Manning, Officer Kelley, and Officer Humphreys committed the common law

tort of false imprisonment by physically arresting Andrew without probable cause.

        61.     As a direct and proximate result of this conduct, the plaintiff suffered the injuries as

described above.


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COUNT VI        Malicious Prosecution Against Officer Kelley, Officer Humphreys and Sgt.
                Manning

          62.   The above paragraphs are incorporated by reference.

          63.   The defendants Kelley, Humphreys and Manning commenced or caused to be

commenced a criminal prosecution against Mr. Powell, acting with malice and without probable

cause.

          64.   The criminal action terminated in Mr. Goddard’s favor on February, 22, 2006, when

a jury found that he was not guilty of all the charges brought against him.

          65.   As a direct and proximate result of this conduct, the plaintiff suffered the injuries as

described above.

COUNT VII Negligence Against the City of Boston

          66.   The above paragraphs are incorporated by reference.

          67.   On September 7, 2006, a notice pursuant to M.G.L. c.258, §4 was forwarded to the

Mayor of the City of Boston.

          68.   Plaintiff properly performed the conditions precedent to filing an action under M.G.L.

c. 258.

          69.   The City of Boston failed to make a settlement offer in response to plaintiff’s demand.

          70.   Officer Kelley, Officer Humphreys, and Sgt. Manning were acting within the scope

of their employment at all times alleged in this complaint.

          71.   Employees of the City of Boston were negligent in:

                (a)    failing to respond properly to a crowd control issue;

                (b)    using profanity and threats to intimidate Andrew;

                (c)    punching Andrew in the throat despite training to avoid such blows;

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              (d)    jumping on top of Andrew to handcuff him, even though he was injured and
                     not resisting;

              (e)    arresting Andrew without probable cause;

              (f)    failing to protect Andrew from the unreasonable use of force by Officer
                     Kelley and Officer Humphreys;

              (g)    failing to properly train Officer Kelley, Officer Humphreys, and Sgt.
                     Manning in crowd control, the use of force, and probable cause for arrests;

              (h)    failing to properly supervise Boston police officers including Officer Kelley,
                     Officer Humphreys, and Sgt. Manning; and

              (i)    failing to properly discipline Boston police officers including Officer Kelley,
                     Officer Humphreys, and Sgt. Manning thereby permitting and encouraging
                     acts of misconduct against civilians.

       72.    As a proximate cause of the City’s negligence, the plaintiff suffered damages as

described above.


WHEREFORE, the plaintiff requests that this court:

       1.     Award compensatory damages;

       2.     Award punitive damages against Officer Kelley, Officer Humphreys, and Sgt.
              Manning;

       3.     Award the costs of this action, including reasonable attorney’s fees; and

       4.     Award such other and further relief as this Court may deem necessary and
              appropriate.




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JURY DEMAND

      A jury trial is hereby demanded.

                                              RESPECTFULLY SUBMITTED,


                                              /s/ Howard Friedman
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                                              Jennifer Bills
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Date: April 12, 2007_____________




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